                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION


MITZI DAVISON,                                       CASE NO.
     Plaintiff,

vs.

BAY AREA CREDIT SERVICE, LLC;
and DOES 1 through 10, inclusive,
      Defendant.



                  COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I.       INTRODUCTION

1. This is an action for actual and statutory damages brought by plaintiff Mitzi Davison,

an individual consumer, against defendant Bay Area Credit Service, LLC for violations

of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter

‘‘FDCPA’’), which prohibits debt collectors from engaging in abusive, deceptive, and

unfair practices, as well as for illegal invasions of Plaintiff’s privacy.

                                    II.          JURISDICTION

2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), 47 U.S.C. § 227 et seq.,

and 28 U.S.C. § 1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202. Venue in this District is proper in that the Defendant transacts business here and

the conduct complained of occurred here.

                                          III.     PARTIES

3. Plaintiff, Mitzi Davison is a consumer, a natural person allegedly obligated to pay any

debt, residing in Greene County, in the state of Missouri.




      Case 6:12-cv-03411-DGK Document 1 Filed 08/30/12 Page 1 of 6
4. Defendant, Bay Area Credit Service, LLC is a foreign company engaged in the

business of collecting debt in this state with its principal place of business located in the

state of California. The principal purpose of Defendant is the collection of debts in this

state and Defendant regularly attempts to collect debts alleged to be due another.

5. Defendant is engaged in the collection of debts from consumers using the mail and

telephone. Defendant regularly attempts to collect consumer debts alleged to be due to

another. Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15 U.S.C. §

1692a(6).

                            IV.    FACTUAL ALLEGATIONS

6. Upon information and belief, within one year prior to the filing of this complaint,

Defendant placed collection calls to Plaintiff, seeking and demanding payment for an

alleged consumer debt owed under an account number.

7. The debt that Defendant is attempting to collect on is an alleged obligation of a

consumer to pay money arising out of a transaction in which the money, property,

insurance or services which are the subject of the transaction are primarily for personal,

family, or household purposes, whether or not such obligation has been reduced to

judgment.

8. Upon information and belief, Defendant began contacting Plaintiff and placing

collection calls to Plaintiff sometime prior to 2012.

9. Upon information and belief, Defendant has called Plaintiff numerous times, without

Plaintiff’s express written consent, and when the calls were not for emergency purposes,

after Plaintiff has already given Defendant reason to know, many times, that it is not her




      Case 6:12-cv-03411-DGK Document 1 Filed 08/30/12 Page 2 of 6
alleged debt that Defendant is responsible for, and also after having been given good

reason to know the name and contact information for Plaintiff’s legal representation.

10. Defendant utilized unfair and unconscionable means to try to get payments from

Plaintiff, by continuing to call her for an alleged debt without her consent, and while

having reason to know that it is not her alleged debt.

11. As a result of the acts alleged above, Plaintiff suffered emotional distress resulting in

her feeling stressed, amongst other negative emotions.

                             V.       FIRST CLAIM FOR RELIEF


12. Plaintiff repeats and realleges and incorporates by reference to the foregoing

paragraphs.

13. Defendant violated the FDCPA. Defendant’s violations include, but are not limited

to, the following:

               (a) Defendant violated §1692f of the FDCPA by using unfair or

                     unconscionable means in connection with the collection of an alleged

                     debt; and

               (b) Defendant violated §1692d(5) of the FDCPA by causing Plaintiff’s

                     telephone to ring continuously with intent to annoy, abuse, or harass,

                     the natural consequence of which was to harass, oppress and/or abuse

                     Plaintiff; and

               (c) Defendant violated §1692c(a)(2) of the FDCPA by communicating

                     with Plaintiff after the Defendant knows the Plaintiff is represented by

                     an attorney with regard to the alleged debt and has knowledge of, or




      Case 6:12-cv-03411-DGK Document 1 Filed 08/30/12 Page 3 of 6
                    can readily ascertain, such attorney’s name and address, and the

                    attorney has not consented to communication with the Plaintiff.

14. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

plaintiff Mitzi Davison for declaratory judgment that Defendant’s conduct violated the

FDCPA, actual damages, statutory damages, and costs and attorney fees.

                          VI.    SECOND CLAIM FOR RELIEF

15. Plaintiff Mitzi Davison repeats, realleges, and incorporates by reference all of the

above paragraphs of this Complaint as though fully stated herein.

16. Congress explicitly recognized a consumer’s inherent right to privacy in collection

matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

findings:

        Abusive debt collection practices contribute to the number of personal
        bankruptcies, to marital instability, to the loss of jobs, and to invasions of
        individual privacy.

15 U.S.C. § 1692(a) (emphasis added).

17. Congress further recognized a consumer’s right to privacy in financial data in

passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial

data for a broad range of “financial institutions” including debt collectors, albeit without

a private right of action, when it stated as part of its purposes:

        It is the policy of the Congress that each financial institution has an affirmative
        and continuing obligation to respect the privacy of its customers and to protect the
        security and confidentiality of those customers’ nonpublic personal information.

15 U.S.C. § 6801(a) (emphasis added).

18. Defendant and/or its agents intentionally and/or negligently interfered, physically or

otherwise, with the solitude, seclusion and/or private concerns or affairs of Plaintiff,




      Case 6:12-cv-03411-DGK Document 1 Filed 08/30/12 Page 4 of 6
namely, by unlawfully attempting to collect a debt and thereby invaded Plaintiff’s

privacy.

19. Defendant also intentionally and/or negligently interfered, physically or otherwise,

with the solitude, seclusion and/or private concerns or affairs of the Plaintiff, namely, by

repeatedly and unlawfully calling her after Plaintiff already gave Defendant reason to

know, multiple times, that she was not responsible for the alleged debt, and also after

Defendant was informed that Plaintiff had legal representation, and thereby invaded

Plaintiff’s right to privacy.

20. Defendant and its agents intentionally and/or negligently caused emotional harm to

Plaintiff by engaging in highly offensive and disrespectful conduct in the course of

collecting this debt, thereby invading and intruding upon Plaintiff’s right to privacy.

21. Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude, seclusion,

private concerns and affairs.

22. The conduct of this Defendant and its agents, in engaging in the above-described

illegal collection conduct against Plaintiff, resulted in multiple intrusions and invasions of

privacy by this Defendant which occurred in a way that would be highly offensive to a

reasonable person in that position.

23. Defendant’s acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

24. As a result of such intrusions and invasions of privacy, Defendant is liable to

Plaintiff for actual damages in an amount to be determined at trial from Defendant.




       Case 6:12-cv-03411-DGK Document 1 Filed 08/30/12 Page 5 of 6
WHEREFORE, Plaintiff respectfully requests that judgment be entered against

defendant Bay Area Credit Service, LLC, for the following:

       A. Declaratory judgment that Defendant’s conduct violated the FDCPA; and

       B. Actual damages; and

       C. Statutory damages pursuant to 15 U.S.C. § 1692k; and

       D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k; and

       E. Punitive damages; and

       F. For such other and further relief as the Court may deem just and proper.


DATED: August 30, 2012
                                                      RESPECTFULLY SUBMITTED,

                                                      By: /s/ Mark D. Molner
                                                      Mark D. Molner, Esq. (SBN 62189)
                                                      PRICE LAW GROUP, APC
                                                      2210 W. 75th Street
                                                      Prairie Village, KS 66208
                                                      Phone: (913)529-1474
                                                      Fax: (818)205-2730
                                                      mark@pricelawgroup.com

                                                      Attorney for Plaintiff,
                                                      Mitzi Davison



                              DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Mitzi Davison, demands trial by jury in this action.




      Case 6:12-cv-03411-DGK Document 1 Filed 08/30/12 Page 6 of 6
